
Ultra Ortho Products, Inc. as Assignee of DANE TOOMER, Appellant, 
againstTate Farm Mutual Automobile Ins. Co., Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Barry A. Schwartz, J.), entered May 8, 2013. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
For the reasons stated in Palafox PT, P.C. as Assignee of Katherine Fermin v State Farm Mut. Auto. Ins. Co. (__ Misc 3d ___[A], 2015 NY Slip Op 51653[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]), the order is affirmed.
Pesce, P.J., Aliotta and Elliot, JJ., concur.
Decision Date: March 17, 2016










